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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 IN RE: COOK MEDICAL, INC., IVC FILTERS
                                                           Case No. 1:14-ml-2570-RLY-TAB
 MARKETING, SALES PRACTICES AND
                                                                             MDL No. 2570
 PRODUCTS LIABILITY LITIGATION

 This Document Relates to Plaintiff:
 DELORES HORAN
 Civil Case #1:20-cv-80


                   MOTION TO SUBSTITUTE PARTY PLAINTIFF


       COMES NOW, Plaintiff Delores Horan and files this motion to substitute her surviving

daughter, Marsha Batchelor, as the proper plaintiff pursuant to Federal Rule of Civil Procedure

25(a)(1). In support therefore, Plaintiff respectfully shows the court the following:

       1. Plaintiff Delores Horan filed the present action in the United States District Court of the

           Southern District of Indiana on January 9, 2020.

       2. Plaintiff Delores Horan died on September 25, 2021.

       3. On August 19, 2022, Plaintiff filed a suggestion of death pursuant to Federal Rule of

           Civil Procedure 25(a). See Doc. No. [22556] and Doc. No. [8]. Plaintiff’s counsel

           recently learned of the death of Ms. Horan after filing the lawsuit and contacting her

           daughter.

       4. Marsha Batchelor, surviving daughter of Delores Horan, is the proper party plaintiff to

           substitute for Plaintiff-decedent Delores Horan and has proper capacity to proceed

           forward with the surviving products liability lawsuit on Plaintiff-decedent’s behalf,

           pursuant to Fed. R. Civ. P. 25(a)(1), stating, “[i]f a party dies and the claim is not

           extinguished, the court may order substitution of the proper party. A motion for




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           substitution may be made by any party or by the decedent’s successor or

           representative.”


       WHEREFORE, counsel for Plaintiff requests this Court grant this motion to substitute

Marsha Batchelor as the proper party plaintiff in this action.


Respectfully submitted August 19, 2022.


                                                                 /s/ David M. Langevin______
                                                                 David M. Langevin, #329563
                                                                 McSweeney/Langevin
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                                 CERTIFICATE OF SERVICE
       I hereby certify that a true copy of the attached document was served upon each attorney

of record through the Court’s Electronic Court Filing System.


Dated: August 19, 2022
                                                   /s/ David M. Langevin
                                                    David M. Langevin




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